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 )LOO LQ WKLV LQIRUPDWLRQ WR LGHQWLI\ WKH FDVH
 'HEWRU     'LDQH 0 +DUW

 'HEWRU 

  6SRXVH LI ILOLQJ

 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH ($67(51 'LVWULFW RI 3(116</9$1,$

 &DVH QXPEHU DPF

2IILFLDO )RUP 6
1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                                                                                  
,I WKH GHEWRU¶V SODQ SURYLGHV IRU SD\PHQW RI SRVWSHWLWLRQ FRQWUDFWXDO LQVWDOOPHQWV RQ \RXU FODLP VHFXUHG E\ D VHFXULW\ LQWHUHVW LQ WKH GHEWRU¶V
SULQFLSDO UHVLGHQFH \RX PXVW XVH WKLV IRUP WR JLYH QRWLFH RI DQ\ FKDQJHV LQ WKH LQVWDOOPHQW SD\PHQW DPRXQW )LOH WKLV IRUP DV D VXSSOHPHQW
WR \RXU SURRI RI FODLP DW OHDVW  GD\V EHIRUH WKH QHZ SD\PHQW DPRXQW LV GXH 6HH %DQNUXSWF\ 5XOH 

1DPH RI FUHGLWRU /DNHYLHZ /RDQ 6HUYLFLQJ //&                                   &RXUW FODLP QR LI NQRZQ  

/DVW  GLJLWV RI DQ\ QXPEHU \RX XVH WR                                           'DWH RI SD\PHQW FKDQJH 
LGHQWLI\ WKH GHEWRU¶V DFFRXQW                                               0XVW EH DW OHDVW  GD\V DIWHU GDWH
                                                                                 RI WKLV QRWLFH

                                                                                 1HZ WRWDO SD\PHQW 
                                                                                 3ULQFLSDO LQWHUHVW DQG HVFURZ LI DQ\

 3DUW        (VFURZ $FFRXQW 3D\PHQW $GMXVWPHQW

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU¶V HVFURZ DFFRXQW SD\PHQW"

         Ƒ 1R
         Ŷ <HV        $WWDFK D FRS\ RI WKH HVFURZ DFFRXQW VWDWHPHQW SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ 'HVFULEH
                       WKH EDVLV IRU WKH FKDQJH ,I D VWDWHPHQW LV QRW DWWDFKHG H[SODLQ ZK\
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW HVFURZ SD\PHQW                             1HZ HVFURZ SD\PHQW 


 3DUW        0RUWJDJH 3D\PHQW $GMXVWPHQW

       :LOO WKH GHEWRU¶V SULQFLSDO DQG LQWHUHVW SD\PHQW FKDQJH EDVHG RQ DQ DGMXVWPHQW WR WKH LQWHUHVW UDWH RQ WKH GHEWRU V
          YDULDEOHUDWH DFFRXQW"

         Ŷ 1R
         Ƒ <HV       $WWDFK D FRS\ RI WKH UDWH FKDQJH QRWLFH SUHSDUHG LQ D IRUP FRQVLVWHQW ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ ,I D QRWLFH LV QRW DWWDFKHG
                        H[SODLQ ZK\
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW LQWHUHVW UDWH                                   1HZ LQWHUHVW UDWH

         &XUUHQW SULQFLSDO DQG LQWHUHVW SD\PHQW          1HZ SULQFLSDO DQG LQWHUHVW SD\PHQW


 3DUW        2WKHU 3D\PHQW &KDQJH

       :LOO WKHUH EH D FKDQJH LQ WKH GHEWRU V PRUWJDJH SD\PHQW IRU D UHDVRQ QRW OLVWHG DERYH"

         Ŷ 1R
         Ƒ <HV        $WWDFK D FRS\ RI DQ\ GRFXPHQW GHVFULELQJ WKH EDVLV IRU WKH FKDQJH VXFK DV D UHSD\PHQW SODQ RU ORDQ PRGLILFDWLRQ DJUHHPHQW
                      &RXUW DSSURYDO PD\ EH UHTXLUHG EHIRUH WKH SD\PHQW FKDQJH FDQ WDNH HIIHFW

                      5HDVRQ IRU FKDQJH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         &XUUHQW PRUWJDJH SD\PHQW                          1HZ PRUWJDJH SD\PHQW




2IILFLDO )RUP 6                                  1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                SDJH 
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'HEWRU  'LDQH 0 +DUW                                                     &DVH QXPEHU LI NQRZQ DPF
           3ULQW 1DPH          0LGGOH 1DPH      /DVW 1DPH




 3DUW       6LJQ +HUH


 7KH SHUVRQ FRPSOHWLQJ WKLV 1RWLFH PXVW VLJQ LW 6LJQ DQG SULQW \RXU QDPH DQG \RXU WLWOH LI DQ\ DQG VWDWH \RXU DGGUHVV DQG
 WHOHSKRQH QXPEHU

 &KHFN WKH DSSURSULDWH ER[
      Ƒ , DP WKH FUHGLWRU
      Ŷ , DP WKH FUHGLWRU¶V DXWKRUL]HG DJHQW

 , GHFODUH XQGHU SHQDOW\ RI SHUMXU\ WKDW WKH LQIRUPDWLRQ SURYLGHG LQ WKLV FODLP LV WUXH DQG FRUUHFW WR WKH EHVW RI P\ NQRZOHGJH
 LQIRUPDWLRQ DQG UHDVRQDEOH EHOLHI

     V Michelle L. McGowan                           'DWH   10/18/2024
     6LJQDWXUH



  3ULQW
                        Michelle L. McGowan                                                                    7LWOH   $XWKRUL]HG $JHQW IRU &UHGLWRU
                        )LUVW 1DPH                      0LGGOH 1DPH        /DVW 1DPH


  &RPSDQ\               5REHUWVRQ $QVFKXW] 6FKQHLG &UDQH           3DUWQHUV 3//&


  $GGUHVV                0RUULV 5G 6XLWH 
                        1XPEHU               6WUHHW


                        $OSKDUHWWD                                             *$         
                        &LW\                                                    6WDWH      =,3 &RGH

  &RQWDFW 3KRQH                                                                                    (PDLO
                                                                                                                        mimcgowan@raslg.com




2IILFLDO )RUP 6                                         1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                                                 SDJH 
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               , +(5(%< &(57,)< WKDW RQ           October 23, 2024      , HOHFWURQLFDOO\ ILOHG WKH IRUHJRLQJ
ZLWK WKH &OHUN RI &RXUW XVLQJ WKH &0(&) V\VWHP DQG D WUXH DQG FRUUHFW FRS\ KDV EHHQ VHUYHG YLD 8QLWHG
6WDWHV 0DLO WR WKH IROORZLQJ

'LDQH 0 +DUW
 7LOWRQ 6WUHHW
3KLODGHOSKLD 3$ 

$QG YLD HOHFWURQLF PDLO WR

0,&+$(/ $ &,%,.
&LELN /DZ 3&
 :DOQXW 6WUHHW
6XLWH 
3KLODGHOSKLD 3$ 

6&277 ) :$7(50$1 >&KDSWHU @
&KDSWHU  7UXVWHH
 6W /DZUHQFH $YH
6XLWH 
5HDGLQJ 3$ 

8QLWHG 6WDWHV 7UXVWHH
2IILFH RI WKH 86 7UXVWHH
5REHUW 1& 1L[ )HGHUDO %XLOGLQJ
6XLWH 
3KLODGHOSKLD 3$ 


                                                 %\ V Jai Young




2IILFLDO )RUP 6                1RWLFH RI 0RUWJDJH 3D\PHQW &KDQJH                       SDJH 
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                                                                                               DISCLOSURE STATEMENT
  P.O. Box 8068 | Virginia Beach, VA 23450 | 1.800.509.0183




       Your Projected Escrow Account Balance as of 11/30/24 is $926.82. Your Required Beginning Escrow Balance according to this analysis should be
       $3,682.25. This means you have a shortage of $-706.94. Per federal law, the shortage may be collected from you over 12 months or more unless it is
       less than 1 month's deposit, in which case we have the additional option of requesting payment within 30 days. We will collect the shortage over 12
       months. Once during this period, your Required Escrow Account Balance should be reduced to $669.50, as shown in February. This amount
       represents the cushion selected as allowed by your mortgage contract, federal and state law.


       Balance Your Escrow Account
       Each year your account is reviewed to make sure there is enough money to pay your property taxes and/or insurance. Federal law allows us to require
       a minimum balance in your account. This cash reserve helps to cover any increase in taxes and/or insurance. Subject to state law limits, your
       minimum balance normally equals the amount of your escrow payments for about two months. The payments made to and from your escrow account
       last year help predict your account activity for next year. Last year’s activity also helps predict what your lowest account balance is likely to be. To
       balance your escrow account, we compare what your lowest account balance will likely be next year with your minimum required balance. The
       difference between those two numbers tells us if you need to deposit additional funds or if we will provide a refund.



                    $669.50    Your minimum required balance
                 $-2,085.93    Your projected lowest account balance for February
                   $-706.94    Your escrow account surplus/shortage


       LoanCare is a debt collector. This is an attempt to collect a debt, and any information obtained will be used for that purpose. However, if you filed for
       bankruptcy, currently are in bankruptcy or received a discharge in bankruptcy, this communication is not an attempt to collect a debt, but is instead a
       legally required notice regarding your escrowed taxes and insurance.




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